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Motion 522(f)(1)(A) (12/18)




                                    UNITED STATES BANKRUPTCY COURT                                Day
                                       SOUTHERN DISTRICT OF OHIO
                                            WESTERN DIVISION

In re Mary Thao Lehnig                                    )          Case No. 19-30226
                                                          )          Chapter       7
                                                          )          Judge         Beth A. Buchanan
                    Debtor/s
                                 MOTION TO AVOID JUDICIAL LIEN ON REAL PROPERTY
                                         PURSUANT TO 11 U.S.C. § 522(f)(1)(A)

                              Mary Thao Lehnig               (the “Debtor,” whether individually or collectively)
moves the court pursuant to 11 U.S.C. § 522(f)(1)(A) and Federal Rules of Bankruptcy Procedure 4003(d) and
9014 for an order granting this motion to avoid the judicial lien of
                             John Soliday Financial Group LLC                                  (the “Creditor”).

                                                 Memorandum in Support

        (1) The Debtor filed a voluntary petition under chapter 7            of the Bankruptcy Code on
         January 26, 2019           (the "Petition Date").

      (2) As of the Petition Date, the Debtor was the owner of the following real property located at
                        4711 Whitewood Court, Dayton, OH 45424                              (the "Property").
The Debtor owns the Property                            with a fee simple interest                         .
            A legal description of the property is attached as Exhibit         A       .

        (3) The value of the Property as of the Petition Date, as set forth in the
                                Debtor's Schedule A                                           was $     102,330.00       .

        (4) The Debtor's interest in the Property as of the Petition Date was $            102,330.00   .


        (5) As of the Petition Date, the Property was subject to certain mortgages/liens in the amounts
specified and in the relative priority set forth below:

        First mortgage/lien:
                                              Specialized Loan Servicing, LLC
        in the amount of $         117,999.00  . The first mortgage/lien was obtained by the mortgagee/

        lienholder on                 April 6, 2007         . The first mortgage/lien was filed on
             April 12, 2007        , in the            Montgomery County, Ohio Recorder's Office                         ,
       at                                        Instrument No. 2007-00030371                                        .




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      Additional mortgage/lien:
                                                     Forest Ridge Association
      in the amount of $            304.55      . The subsequent mortgage/lien was obtained by the mortgagee/
      lienholder on           July 31, 2013        . The subsequent mortgage/lien was filed on
                 July 31, 2013          , in the              Montgomery County, Ohio Recorder's Office
      at                                            Instrument No. 2013-00053399



           (6) The Creditor obtained a judgment in the amount of $              23,743.38            against the Debtor on
    February 3, 2012       in the                   Montgomery County, Ohio Common Pleas Court                            .
The Certificate of Judgment was filed on             February 14, 2012   with the
                                  Montgomery County, Ohio Common Pleas Court                                          at
             2012 CJ 183306 and also re-recorded in the amount of $16,429.44 at 2016 CJ 201378                        .


           (7) The Debtor has claimed or is entitled to claim an exemption in the Property in the amount of
$          136,925.00      pursuant to                           O.R.C. Sec. 2329.66(A)(1)                                        .

        (8) 11 U.S.C. § 522(f)(2)(A) provides that "a lien shall be considered to impair an exemption to the
extent that the sum of: (i) the lien; (ii) all other liens on the property; and (iii) the amount of the exemption
that the debtor could claim if there were no liens on the property; exceeds the value that the debtor's interest
in the property would have in the absence of any lien." 11 U.S.C. § 522(f)(2)(A).

        (9) Using the formula set forth above, the judicial lien of the Creditor impairs the Debtor's exemption,
wherefore the judicial lien of the Creditor is avoidable pursuant to 11 U.S.C. § 522(f)(2)(A). In this case we have
the following values:
           a. Amount of judicial lien                                    $             23,743.38
           b. Amount of all other liens                                  $             118,303.55
           c. Value of exemptions                        136,925.00      $
           ______________________________________________________
           d. Total: lines a + b + c = line d                            $             278,971.93
           e. Value of the Debtor's interest in the Property
                                                         102,330.00      $
           ______________________________________________________
           f. Subtract line e from line d                                $             176,641.93


           Extent of exemption impairment:                               $              176,641.93
           If line f is equal to or greater than line a, the entire judicial lien is avoided
           If line f is less than line a, a portion of the judicial lien may be avoided



           (10) Upon                                          the entry of discharge                                          ,


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the judicial lien of the Creditor on the Property will be avoided. If the Creditor fails to timely release the
judicial lien, the Debtor may submit an order granting this motion to the applicable court or recorder's office
as evidence of the release of the judicial lien.

       WHEREFORE, the Debtor requests that the court grant the Motion to Avoid Judicial Lien on Real
Property pursuant to 11 U.S.C. § 522(f)(1)(A).


                                                  Respectfully submitted,



                                                   /s/Melanie Reitz, Esq.
                                                   Melanie Reitz, Esq. (0078852)
                                                   Richard E. West Co., LPA
                                                   195 E. Central Ave., Springboro, OH 45066
                                                   Ph: (937) 601-0401
                                                   Fx: (937) 552-2138
                                                   bknotice@debtfreeohio.com



                                                Notice of Motion

        Debtor has filed a Motion to Avoid Judicial Lien on Real Property pursuant to 11 U.S.C. § 522(f)(1)(A).

       Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

        If you do not want the court to grant the relief sought in the motion, then on or before twenty-one
(21) days from the date set forth in the certificate of service for the motion, you must file with the
court a response explaining your position by mailing your response by first class mail to:
         United States Bankruptcy Court, 120 West Third Street, Dayton, Ohio 45402

OR your attorney must file a response using the court’s ECF System.

        The court must receive your response on or before the above date.

        You must also send a copy of your response either by 1) the court’s ECF System or by 2) first class mail
to:
         Mary Thao Lehnig, 4711 Whitewood Court, Dayton, OH 45424

         Melanie Reitz, Richard E. West Co. LPA, 195 E. Central Ave., Springboro, OH 45066

         Erin C. Rennecker, 576 Mount Court, Suite B, Lebanon, OH 45036

         Office of the US Trustee, 170 N. High Street, Suite 200, Columbus, OH 43215-2403




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       If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the motion and may enter an order granting the relief without further hearing or notice.


                                                  Certificate of Service


       I hereby certify that a copy of the foregoing Motion to Avoid Judicial Lien on Real Property Pursuant to
11 U.S.C. § 522(f)(1)(A) was served electronically on the date of filing through the court's ECF system on all
ECF participants registered in this case at the email address registered with the court and

        by first class mail on    March 20, 2019          addressed to:

         JOHN SOLIDAY FINANCIAL GROUP LLC, CO CHEEK LAW OFFICES LLC, 471 E BROAD
         ST. 12TH FLOOR, COLUMBUS OH 43215
         Forest Ridge Association HOA, PO Box 24750, Huber Heights, OH 45424
         Specialized Loan Servicing LLC, 8742 Lucent Blvd., Highlands Ranch, CO 80129
         Synchrony Bank c/o PRA Receivables Management LLC, PO Box 41021, Norfolk, VA 23541
         Mary Thao Lehnig, 4711 Whitewood Court, Dayton, OH 45424



       [For parties served other than by first class mail pursuant to Federal Rule of Bankruptcy Procedure
7004, add the following language.]


       by                        certified mail                            on   March 20, 2019     addressed to:
         John Soliday Financial Group LLC, c/o Toni C. Cheek statutory agent, 471 E. Broad St., Ste. 1201,
         Columbus, OH 43215




                                                       /s/Melanie Reitz, Esq.
                                                       Melanie Reitz, Esq. (0078852)
                                                       Richard E. West Co., LPA
                                                       195 E. Central Ave., Springboro, OH 45066
                                                       Ph: (937) 601-0401
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                                                   EXHIBIT A
